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 1   BENJAMIN B. WAGNER
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 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2918
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 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )
                                   )          Case No. 2:10-cr-00284-MCE
12                  Plaintiff,     )
                                   )          GOVERNMENT MOTION TO DISMISS
13             v.                  )
                                   )
14   CUONG THOI LONG,              )
                                   )
15                  Defendant.     )
     ______________________________)
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17
18           Plaintiff United States of America, by and through United
19   States Attorney Benjamin B. Wagner and Assistant United States
20   Attorney Todd D. Leras, hereby moves to dismiss the charge in the
21   Indictment against defendant Cuong Thoi Long under Rule 48(a) of the
22   Federal Rules of Criminal Procedure.         The government recently
23   learned that Cuong Thoi Long has died.         His death was confirmed via
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25   / / /
26   / / /
27   / / /
28   / / /
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 1   certified death certificate obtained from the County of Sacramento
 2   on February 25, 2013.   The death certificate indicates that Cuong
 3   Thoi Long died as a result of complications from cancer on December
 4   26, 2012.
 5                                            Respectfully submitted,
 6
                                              BENJAMIN B. WAGNER
 7                                            United States Attorney
 8   Dated: February 26, 2013                    /s/ Todd D. Leras
                                              TODD D. LERAS
 9                                            Assistant U.S. Attorney
                                              Attorney for Plaintiff
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 1                                     ORDER
 2        Based on the Government’s motion, the charge in the Indictment
 3   in this matter as to Defendant Cuong Thoi Long is DISMISSED.
 4        IT IS SO ORDERED.
 5   DATED: March 6, 2013
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                                    _____________________________________________
 9                                  MORRISON C. ENGLAND, JR., CHIEF JUDGE
                                    UNITED STATES DISTRICT JUDGE
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